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                                                             U.S. Department of Justice

                                                             Michael R. Sherwin
                                                             Acting United States Attorney

                                                             District of Columbia
                                                             Judiciary Center
                                                             555 Fourth St. N.W.
                                                             Washington, D.C. 20530


                                                             November 24, 2020

VIA Web Portal

C/O Trust & Safety - Legal Policy
Twitter, Inc.
1355 Market Street, Suite 900
San Francisco, CA 94103
Fax: 415-222-9958

                              Re:     Grand Jury Subpoena #GJ2020111968168
                                      USAO #2020R00007
Dear Sir/Madam:

        Pursuant to a criminal investigation being conducted by the United States Attorney’s
Office, it is required that you furnish the requested records as described in the attached subpoena.

         In lieu of personally appearing before the Grand Jury on the date indicated, you may
comply with this grand jury subpoena by promptly providing the undersigned Assistant U.S.
Attorney with the requested records. If you choose to provide the requested records voluntarily,
please provide them in a non-proprietary electronic format via FedEx, UPS or DHL. Also enclosed
please find a blank “Declaration of Custodian of Records” form. It may save time and costs if an
appropriate person at your business could complete the form and return it with the records. A
properly completed “Declaration of Custodian of Records” form will make it more likely that we
could present the records at trial without requiring you or another employee to come to court and
testify.

        Under the Electronic Communications Privacy Act, 18 U.S.C. § 2701 et seq., electronic
communications services providers responding to a grand jury subpoena for production of certain
records are entitled to reimbursement for some of the costs involved in compliance.
Reimbursement may not be made for records or other information relating to telephone toll records
and listings described in 18 U.S.C. § 2703(c)(2). Please note that under the Act, the Department
of Justice will not reimburse expenses incurred for the production of information kept in the
ordinary course of business. An exception can be made if compliance with a grand jury subpoena
requires the expenditure of unusual effort or resources. In that circumstance, reimbursement of
the "reasonable cost" of such services can be made if the government and subpoena recipient
mutually agree on the amount, or if the court orders reimbursement.
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       If you believe that you are entitled to reimbursement, please send a full and complete
itemized statement for all costs in an invoice that makes clear the basis for the reimbursement
request.

        No reimbursement will be made without (1) a full and complete itemized statement of all
costs bearing your taxpayer identification number, (2) a completed usa-212 form, and (3) a copy
of the subpoena.

       Moreover, no reimbursements will be paid for partial compliance with the grand jury
subpoena. Accordingly, no invoice should be submitted to this office until compliance with the
grand jury subpoena is complete, and the accompanying invoice represents a final and complete
invoice for all qualified costs involved in that compliance. Please submit all invoices directly to
the Assistant United States Attorney at the address indicated in this letterhead.

       Enclosed please find a nondisclosure order from the court directing Twitter, Inc. not to
notify any person (including the subscriber or customer) of the existence or content of this
subpoena. You are directed not to disclose the existence of this subpoena or the fact of your
compliance. Any such disclosure on your part could impede the investigation being conducted
and thereby interfere with the enforcement of the law.

         We appreciate your cooperation in this matter. If you have any questions, please contact
this office at the number below.


                                                     Sincerely,

                                                     Michael R. Sherwin
                                                     Acting United States Attorney

                                                By: /s/ Michael J. Friedman
                                                    Michael J. Friedman
                                                    Assistant United States Attorney
                                                    555 4th Street, N.W. Room #11-439
                                                    Washington, DC 20530
                                                    202-252-6765
                                                    Michael.Friedman@usdoj.gov
                      Case 1:20-sc-03082-BAH Document 3-1 Filed 03/10/21 Page 4 of 82
 AO 110 (Rev. 06/09) Subpoena to Testify Before a Grand Jury



                                        UNITED STATES DISTRICT COURT
                                                                      for the
                                                               District of Columbia
                                           SUBPOENA TO TESTIFY BEFORE A GRAND JURY

To:     C/O Trust & Safety - Legal Policy
        Twitter, Inc.
        1355 Market Street, Suite 900
        San Francisco, CA 94103

       YOU ARE COMMANDED to appear in this United States district court at the time, date, and place shown
 below to testify before the court’s grand jury. When you arrive, you must remain at the court until the judge or a court
 officer allows you to leave.

      Place: U.S. DISTRICT COURT FOR THE DISTRICT OF COLUMBIA                         Date and Time:
             U.S. Courthouse, 3rd Floor    Grand Jury # 20-2                          Tuesday, December 23, 2020 at 9:00 AM
             333 Constitution Avenue, N.W.
             Washington, D.C. 20001


           You must also bring with you the following documents, electronically stored information, or objects:


                                                           PLEASE SEE ATTACHMENT


 In lieu of personally appearing before the Grand Jury on the date indicated, you may comply with this grand jury
 subpoena by promptly providing SA Crystal Griner via crystal.griner@uscp.gov with the requested records.

 Date: November 24, 2020
                                                                         CLERK OF COURT



                                                                                        Signature of Clerk or Deputy Clerk




      The name, address, telephone number and email of the Assistant United States Attorney, who requests this subpoena,
      are:
      Michael J. Friedman, Assistant United States Attorney                              Subpoena #GJ2020111968168
      United States Attorney’s Office for the District of Columbia                       USAO #2020R00007
      555 4th Street, N.W. Room #11-439                                                  Preparer: MWATTS
      Washington, DC 20530
      Phone: 202-252-6765 Fax: 202-252-7792
      Email: Michael.Friedman@usdoj.gov
 U.S. Department of Case
                    Justice 1:20-sc-03082-BAH
                                         Request forDocument    3-1Content,
                                                     Communications   FiledRecords
                                                                            03/10/21       Page
                                                                                    or Other      5 of 82
                                                                                             Information Under the Electronic
 Washington, D.C. 20530                Communications Privacy Act (ECPA). (Authorization, Purchase Order and Receiving Report)

 This form shall be used when requesting communications content, records, or other information from electronic communications or remote computing service providers under the ECPA.
  1 Tracking Number:                                                    2 Date Order Prepared:                                           3 USAO Number:
     GJ2020111968168                                                       11/19/2020                                                       2020R00007
                                                                       Section A – Authorization and Purchase Order
  4 Name and Address of Service Provider:                                                                                       A.
  Twitter, Inc.                                                                         Funding Certification &                      Budget Official Signature       Funding Available       Date
                                                                                                                                .
  1355 Market Street, Suite 900                                                         Authorization:
                                                                                                                                B.
  San Francisco, CA 94103                                                                                                            Approving Official Signature           Date
   5 Deliver Records To:                                                                                       Send Completed USA-212 Form & Invoice To:                  6 Return Date:
     Michael J. Friedman
     555 4th Street, N.W. Room #11-439                                                                                                                                     12/8/2020
     Washington, DC 20530
   7 Remarks: Do not proceed with compliance if the total cost will exceed                       without prior approval. To obtain approval, call the requestor listed in Item 8.
              If invoicing for these services is expected to exceed 120 days, please notify the United States Attorney's Office immediately to ensure funds remain available
              for payment. Please see the attached Important Notice for additional information on invoicing and other requirements for reimbursement.
   8 Name of Requestor:                                                                                              9 Telephone Number:                                  10 Date of request:
      Michael J. Friedman/MWATTS                                                                                        202-252-6765                                      11/24/2020
                                                                       Section B - ECPA Service Provider Invoice
11A Invoice Number:                                                                                                                                  Unit Price
                                                                                                                        Quantity                                                   Amount
11B Tax ID Number:                                                                                                                                Cost              Per

11C Service(s)/Records Provided:




 The costs above (or on the attached invoice) represent direct costs and have been incurred in searching
 for, assembling, reproducing or otherwise providing the requested information.
12 Signature of Service Provider Representative:                                                           13 Date Signed:                    Total Amount Claimed
                                                                                                                                              By Service Provider
                                                                                                                                            16 Disallowance
                                                  Section C - Receiving Report                                                                  (See Attached)
14 I certify that the articles and services listed were received:                                          15 Date Received:                17 Net to
                                                                                                                                             Service
                                                                                                                                             Provider
18 Electronic Communications Privacy Act - Public Law 99-508                                                                       19 Signature of Approving Official:              Date:
   (18 U.S.C. 2701-2712) Request Pursuant To: (Only One Section at Left Should Be Checked)
                                                                                                                  OBJECT
               SECTION                                                                                            CLASS
                   2702               Voluntary Disclosure                                                           2570          20 Funding Source
                 X    2703            Compelled Disclosure                                                           2570
                                                                                                                                   Accounting Code:
                                               Search Warrant                                                        2570
                                                                                                                                   Program
                                           X   Grand Jury Subpoena                                                   2570
                                               Court Order                                                           2570
                                                                                                                                  21 Other Accounting/Fund Information:
                                               Administrative or Judicial Subpoena                                   2570         Program Code:               Project Code:
                         2704         Request for Information Following Preservation                                 2570         YREGDOC:
                                                                                                                                  Call Number (if applicable):
                                                                                                                                  OBL Month (YRMO):
22 Remarks:
                                                                                                                                  Tax ID Number:

The costs above (or on the attached invoice) appear to be reasonably necessary and to have been directly incurred in searching for, assembling, reproducing or otherwise providing requested information




Signature of United States Attorney's Office Representative              Date
                                                                                                                                                                                           FORM USA-212
                                                                                                                                                                                               EEB. 2014
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                          DECLARATION OF CUSTODIAN OF RECORDS


         Pursuant to 28 U.S.C. §1746, I, the undersigned, hereby declare:
My name is                                                                              .
                                       (name of declarant)

         I am a United States citizen and I am over eighteen years of age. I am the custodian of records of the
business named below, or I am otherwise qualified as a result of my position with the business named below to
make this declaration. I have knowledge of the record keeping system used by this business; this includes how
records are created and maintained.

        I am in receipt of a United States District Court Subpoena #GJ2020111968168 dated
 November 24, 2020, signed by Assistant United States Attorney Michael J. Friedman, requesting specified
records of the business named below.

         Attached hereto are                  pages of records regarding
                                                                                    (Brief description of type of documents being subpoenaed)
                                                                             responsive to the subpoena. I
understand how these responsive documents were created. Pursuant to Rules 902(11) and 803(6) of the Federal
Rules of Evidence, I hereby certify that the records attached hereto:

         (1) were made at or near the time of the occurrence of the matters set forth in the records, by, or from
         information transmitted by, a person with knowledge of those matters;

         (2) were kept in the course of regularly conducted business activity, in that the records were created and
         preserved pursuant to established procedures, and were relied upon by an employee or this business; and

         (3) were made as part of the regularly conducted business activity as a regular practice, in that the records
         were created and preserved as part of routine reflections of the normal operations of this business.

         I declare under penalty of perjury that the foregoing is true and correct.

         Executed on               .                                        .
                                              (date)


                                                             (signature of declarant)


                                                             (name and title of declarant)


                                                             (name of business)


                                                             (business address)


                                                             (business address)




Definitions of terms used above:

As defined in Fed.R.Evid. 803(6), “record” includes a memorandum, report, record, or data compilation, in any form, of acts, events,
conditions, opinions, or diagnoses. The term, “business” as used in Fed.R.Evid. 803(6) and the above declaration includes business,
institution, association, profession, occupation, and calling of every kind, whether or not conducted for profit.
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                                        ATTACHMENT
                                         Twitter, Inc.


All customer or subscriber account information for any and all accounts associated with the
following identifiers listed below, from October 1, 2020 to the Present:

   x   @NunesAlt

In addition, for each such account, the information shall include the subscriber's:

       1. Names (including subscriber names, user names, and screen names);

       2. Addresses (including mailing addresses, residential addresses, business addresses,
          and e-mail addresses);

       3. Local and long distance telephone connection records;

       4. Records of session times and durations, and IP logs;

       5. Length of service (including start date) and types of service utilized;

       6. Telephone or instrument numbers (including MAC addresses, Electronic Serial
          Numbers ("ESN"), Mobile Electronic Identity Numbers ("MEIN"), Mobile
          Equipment Identifier ("MEID"), Mobile Identification Numbers ("MIN"), Subscriber
          Identity Modules ("SIM"), MSISDN, International Mobile Subscriber Identifiers
          ("IMSI"), or International Mobile Station Equipment Identities ("IMEI"));

       7. Other subscriber numbers or identities (including temporarily assigned network
          addresses and registration Internet Protocol ("IP") addresses);

       8. Means and source of payment for such service (including any credit card or bank
          account number) and billing records.
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             INSTRUCTIONS FOR PRODUCTION OF RECORDS


I.     General:
       a. Records existing as Electronically Stored Information (ESI) shall be produced in
          non-proprietary electronic form and shall include text data and image data held:
              i. In your record retention systems; and/or
             ii. By your technology, data, or other service provider(s).
       b. Records that do not exist as ESI may be produced in paper or other original format and
          may be converted to image or text data and provided as ESI, unless originals are required.


II.    Text Data
       a. Text data relating to transactions shall be produced within a data file:
              i. Using a delimited ASCII text data format; or
             ii. Using software that can export to a commonly readable, non-proprietary file
                 format without loss of data.
       b. Text data files relating to transactions shall include field descriptions (e.g., account
          number, date/time, description, payee/payor, check number, item identifier, and amount).


III.   Image Data
       a. Image data shall be produced in graphic data files in a commonly readable,
          non-proprietary format with the highest image quality maintained.
       b. Image data of items associated with transactions (e.g., checks and deposit slips) shall be:
              i. Produced in individual graphic data files with any associated endorsements; and
             ii. Linked to corresponding text data by a unique identifier.


IV.    Encryption/Authentication
       a. ESI may be transmitted in an encrypted container (e.g. flash drive, CD/DVD).
          Decryption keys and/or passwords shall be produced separately at the time the data are
          produced. Please do not encrypt individual file contents if the container is encrypted.
       b. Authentication, such as hash coding, may be set by agreement.
       c. Affidavits or certificates of authenticity may be included as part of the electronic
          production.
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      Case                 *SEALED*
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR
 2705(b) NONDISCLOSURE ORDER FOR                   SC No. 20-sc-03082
 GRAND JURY SUBPOENA
 GJ2020111968168                                   Filed Under Seal


                                             ORDER

       This matter having come before the Court pursuant to an application under 18 U.S.C.

§ 2705(b) requesting an order directing Twitter, Inc. (“PROVIDER”), an electronic

communication and/or remote computing service provider located in San Francisco, California,

not to notify any other person of the existence of subpoena number GJ2020111968168 issued by the

United States on behalf of a federal Grand Jury empanelled in the United States District Court for

the District of Columbia (the “Subpoena”), the Court finds reasonable grounds to believe that such

disclosure will result in flight from prosecution, destruction of or tampering with evidence,

intimidation of potential witnesses, and serious jeopardy to the investigation.

       IT IS THEREFORE ORDERED that, pursuant to 18 U.S.C. § 2705(b), PROVIDER and

its employees shall not disclose the existence of the Subpoena to any other person (except attorneys

for PROVIDER for the purpose of receiving legal advice) for a period of 90 days (commencing

on the date of this Order), unless the period of nondisclosure is later modified by the Court.

       IT IS FURTHER ORDERED that the application and this Order are sealed until otherwise

ordered by the Court.

                                                      ___________________________________
                                                      UNITED STATES MAGISTRATE JUDGE
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

SHAWN MUSGRAVE                               *
185 Forest Avenue                            *
Unit 4A                                      *
Palo Alto, CA 94301,                         *
                                             *
       Plaintiff,                            *
                                             *
       v.                                    *       Civil Action No. 1:21-cv-00554
                                             *
DEPARTMENT OF JUSTICE                        *
950 Pennsylvania Avenue, NW                  *
Washington, DC 20530,                        *
                                             *
       Defendant.                            *
                                             *
*      *       *      *       *      *       *       *      *       *      *       *       *

                                         COMPLAINT

       Plaintiff Shawn Musgrave brings this action against Defendant Department of Justice

pursuant to the Freedom of Information Act, 5 U.S.C. § 552, et seq., as amended (“FOIA”), the

Federal Declaratory Judgment Act, 28 U.S.C. § 2201, and the All Writs Act, 28 U.S.C. § 1651.

                                         JURISDICTION

       1.      This Court has both subject matter jurisdiction over this action and personal

jurisdiction over Defendant pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. § 1331.

                                            VENUE

       2.      Venue is appropriate under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. § 1391.

                                           PARTIES

       3.      Plaintiff Shawn Musgrave (“Musgrave”) is a citizen of the United States and a

resident of the State of California. As a freelance reporter whose work has been featured in
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Politico, the Boston Globe, the Intercept, and elsewhere, Musgrave is a representative of the

news media within the meaning of 5 U.S.C. § 552(a)(4)(A).

        4.      Defendant Department of Justice (“DOJ”) is an agency within the meaning of 5

U.S.C. § 552(e) and is in possession and/or control of the records requested by Musgrave which

are the subject of this action.

        5.      The Federal Bureau of Investigation (“FBI”) and Office of Information Policy

(“OIP”) are DOJ components.

                                         BACKGROUND

        6.      In 2017, an unknown individual created the anonymous parody Twitter account

@DevinCow, which fictitiously purports to be the account of a cow owned by U.S.

Representative Devin Nunes (“Cong. Nunes”).

        7.      In March 2019, Cong. Nunes drew significant public attention to the account by

suing Twitter, the anonymous owner of the @DevinCow account, and several other parties for

defamation, claiming $250 million in damages in a complaint filed in Virginia. In the complaint,

Cong. Nunes quoted @DevinCow’s tweets—calling Cong. Nunes, for example, a “treasonous

cowpoke”—as support for his allegation that there was a coordinated online defamation

campaign against him.

        8.      After Cong. Nunes filed his lawsuit, the @DevinCow account gained over

750,000 new Twitter followers and was the subject of widespread press coverage, which ranged

from discussion of the merits of the lawsuit itself to speculation regarding the identity of the

account’s owner.

        9.      Since filing his Virginia lawsuit, Cong. Nunes and his legal team have tried in

several different ways to “unmask” the anonymous Twitter user behind @DevinCow. First, in


                                                  2
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addition to monitoring the account itself for possible clues, they have tried multiple times in the

Virginia case to subpoena Twitter for identifying information about the account. That effort has

thus far failed. See Kate Irby, Devin Nunes’ Attorney Says He’s at ‘Dead End’ in Quest to Reveal

Identity of Twitter Cow, Fresno Bee, June 12, 2020, available at

https://www.fresnobee.com/news/politics-government/article243488476.html.

       10.     Cong. Nunes’s lawyer Steven Biss further attempted to subpoena Twitter for

identifying information on @DevinCow in a completely unrelated case in which Biss

represented a different client. Twitter’s lawyers responded to that request by calling the attempt

“not merely defective and unlawful,” but also apparently “made for an improper purpose: to end-

run around discovery disputes in an unrelated lawsuit.” This effort also failed. See Jerry Lambe,

Twitter Demands Attorney’s Fees From Nunes’ Lawyer for Trying to Unmask @DevinCow

Through Unrelated Lawsuit, Law & Crime, Feb. 7, 2020, at https://lawandcrime.com/high-

profile/twitter-demands-attorneys-fees-from-nunes-lawyer-for-trying-to-unmask-devincow-

through-unrelated-lawsuit/.

       11.     Cong. Nunes was the Chair of the House Permanent Select Committee on

Intelligence from 2015-2019 and is currently the Committee’s Ranking Member.

       12.     As a result of the repeated efforts by Cong. Nunes and his legal team to unmask

@DevinCow—of which the above instances are merely examples—Musgrave filed two FOIA

requests—with the permission of @DevinCow’s owner—to ascertain the degree to which FBI

and DOJ—with or without Cong. Nunes’s involvement—have attempted to identify the

anonymous owner of the @DevinCow Twitter account.




                                                 3
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                                       CAUSES OF ACTION

                                   FIRST CAUSE OF ACTION

                           (FBI -- RECORDS DENIAL – 1480963-000)

        13.     Musgrave repeats and realleges the allegations contained in all paragraphs set

forth above.

        14.     On 9 November 2020, Musgrave submitted to FBI a request for five categories of

records: (1) all main file records about the @DevinCow Twitter account; (2) all cross-references

in the Central Records System about the @DevinCow Twitter account; (3) all internal emails or

other correspondence records created or maintained by the Office of Congressional Affairs

mentioning the @DevinCow Twitter account; (4) all emails in the FBI email system(s) or

personal email folders on personal computers used by the Washington Field Office and San

Francisco Field Office mentioning the @DevinCow Twitter account; and (5) all emails in the

FBI email system(s) or personal email folders on personal computers used by the Criminal,

Cyber, Response, and Services Branch mentioning the @DevinCow Twitter account.

        15.     Musgrave added, “Please note that we do not wish to know the identity of the

owner of the @DevinCow account, so the FBI should automatically redact any personally

identifying information about that individual while releasing the contextual information which

would show that PII was redacted. We are only interested in records discussing the account

and/or the possible identification of its owner, not in the identity itself.”

        16.     On 17 November 2020, FBI acknowledged receipt of this request and assigned it

Request No. 1480963-000. FBI stated that it could neither confirm nor deny the existence of any

responsive records—known as a “Glomar response”—because of the privacy interests of third

party individuals.


                                                   4
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       17.     On 23 November 2020, Musgrave appealed this decision to OIP. Musgrave stated,

“It is nonsensical to issue a (b)(6) Glomar response to a request for records about an anonymous

Twitter account, especially when the request has formally indicated that we have no interest in

learning the identity of the user.”

       18.     That same day, OIP acknowledged receipt of this appeal and assigned it Appeal

No. A-2021-00372.

       19.     On 1 February 2021, OIP affirmed FBI’s determination.

       20.     Musgrave has a legal right under FOIA to obtain the information he seeks, and

there is no legal basis for the denial by FBI and DOJ of said right.

                                 SECOND CAUSE OF ACTION

             (OIP – CONSTRUCTIVE RECORDS DENIAL – FOIA-2021-00272)

       21.     Musgrave repeats and realleges the allegations contained in all paragraphs set

forth above.

       22.     On 9 November 2020, Musgrave submitted to OIP a request for three categories

of records: (1) all emails or other correspondence records created or maintained by the Office of

Congressional Affairs mentioning the @DevinCow Twitter account; (2) all emails or other

correspondence records created or maintained by the Offices of the Attorney General, Deputy

Attorney General, and Associate Attorney General mentioning the @DevinCow Twitter account;

and (3) all other records or information about the @DevinCow Twitter account in the Offices of

the Attorney General, Deputy Attorney General, and Associate Attorney General, and the Office

of Legislative Affairs.

       23.     Musgrave added, “Please note that we do not wish to know the identity of the

owner of the @DevinCow account, so DOJ should automatically redact any personally


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identifying information about that individual while releasing the contextual information which

would show that PII was redacted. We are only interested in records discussing the account

and/or the possible identification of its owner, not in the identity itself.”

        24.     On 18 November 2020, OIP acknowledged receipt of this request and assigned it

Request No. FOIA-2021-00272.

        25.     As more than thirty working days have elapsed without a substantive decision,

Musgrave has exhausted all required administrative remedies.

        26.     Musgrave has a legal right under FOIA to obtain the information he seeks, and

there is no legal basis for the denial by DOJ of said right.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Shawn Musgrave prays that this Court:

        (1)     Order the Federal Bureau of Investigation and Office of Information Policy to

release all requested records to him at no charge;

        (2)     Order preliminary and permanent injunctive and/or declaratory relief as may be

appropriate;

        (3)     Award reasonable costs and attorneys’ fees as provided in 5 U.S.C. §

552(a)(4)(E), 28 U.S.C. § 2412(d), or any other applicable law;

        (4)     Expedite this action in every way pursuant to 28 U.S.C. § 1657(a); and

        (5)     Grant such other relief as the Court may deem just and proper.




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Date: March 3, 2021

                                        Respectfully submitted,

                                        /s/ Kelly B. McClanahan
                                        Kelly B. McClanahan, Esq.
                                        D.C. Bar #984704
                                        National Security Counselors
                                        4702 Levada Terrace
                                        Rockville, MD 20853
                                        301-728-5908
                                        240-681-2189 fax
                                        Kel@NationalSecurityLaw.org

                                        Counsel for Plaintiff




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VIRGINIA:

            IN THE CIRCUIT COURT FOR THE COUNTY OF HENRICO


DEVIN G. NUNES                               )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )                      Case No. CL19-1715
                                             )
                                             )
TWITTER, INC.                                )
     et al                                   )
                                             )
       Defendants.                           )
                                             )


        PLAINTIFF’S INTERROGATORIES AND
     REQUEST FOR PRODUCTION OF DOCUMENTS
             TO DEFENDANT, TWITTER
       Plaintiff, Devin G. Nunes, by counsel, pursuant to Rules 4:1, 4:8 and 4:9 of the

Rules of the Supreme Court of Virginia (the “Rules”), hereby requests that Defendant,

Twitter, Inc., answer the following interrogatories, separately, in writing and under oath,

and produce the following documents for inspection and copying at the law office of

Steven S. Biss, Esquire, 300 West Main Street, Suite 102, Charlottesville, Virginia

22903, within the time prescribed by the Rules:



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                         DEFINITIONS AND INSTRUCTIONS

        1.      The term “document” shall mean and include all written, electronic, digital

and graphic matter of every kind and description, whether written or produced or

transmitted by computer, typewriter, printer, photocopier or other machine or by hand,

whether in printed form or on computer disk, and whether in the actual or constructive

possession, custody or control of you, including, without limitation, any and all files,

records, disks, emails, text messages, instant messages, direct messages. iMessages,

letters, correspondence, memoranda, notes, statements, transcripts, workpapers, sound

recordings, cds, dvds, videotapes, charts, reports, books, ledgers, registers, books of

account, account statements, financial statements, checks, check stubs, deposit receipts,

and any other written, electronic or graphic record of any kind, whether or not such

documents are claimed to be privileged from discovery on any ground.

        2.      “You” and “your” shall mean the person or entity to whom/which this

request or subpoena is directed, including his, her, their or its agents, representatives,

employees, attorneys, experts, investigators, insurers or anyone acting on behalf of the

foregoing.

        3.      “Person” or “person” means any individual, sole proprietorship,

partnership (general or limited), limited liability company, limited liability partnership,

corporation, association, trust or other entity.

        4.      “Plaintiff” means Plaintiff, Devin G. Nunes, including, without limitation,

any agent, representative or employee of Plaintiff.

        5.      “Twitter” means defendant, Twitter, Inc., including, without limitation,

any officer, director, manager, agent, representative or employee of Twitter.



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       6.      “Devin Nunes’ Mom” means the creator, owner, holder, sponsor, user, or

operator, including, without limitation, all officers, directors, managers, members,

shareholders, parents, subsidiaries, partners, agents, representations, employees,

associates and/or affiliates of such persons or entities, of the following Twitter account:




       7.      “Devin Nunes’ cow” means the creator, owner, holder, sponsor, user, or

operator, including, without limitation, all officers, directors, managers, members,

shareholders. Parents, subsidiaries, partners, agents, representations, employees,

associates and/or affiliates of such persons or entities, of the following Twitter account:




       8.      “Relating to” means to refer to, reflect, pertain to, or in any manner be

connected with the matter discussed.

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       9.       “Identify” or “identification”, when used in reference to a person, means

to state their full name, their present or last known home and business addressees) and

their present or last known home and business telephone number(s).             “Identify” or

“identification”, when used in reference to a document, means to state or specify the type

of document, e.g. letter, memoranda, etc., its date, its author, signer, addressee, its

contents, and any other information necessary to identify the document for purposes of an

interrogatory, request for production of documents or subpoena duces tecum. As an

alternative to identifying the document, a copy may be attached to your answer. If any

such document was but is no longer in your possession or subject to your control, state

what happened to the document. “Identify” or “identification”, when used in reference to

a communication, representation or discussion, means to state the person(s) to whom

such communication was made, the medium of communication, e.g., letter, telephone,

fax, email, etc., the date of such communication, and the subject matter and substance of

such communication.

       10.      “Describe” means state what is requested to be described, including all

facts and opinions known and held regarding what is requested to be described, and (I)

the identity of each person involved or having knowledge of each fact or opinion relating

to what is described, (II) the identity of each document evidencing the answer given or

relating to what is disclosed in the answer given, and (III) all relevant or material dates or

time periods.




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       11.     If you consider any document called for by a request for production of

documents to be privileged from discovery, include in your answer/response a list of the

documents withheld, identifying each document by date, author, addressee, all recipients,

all persons who have seen the document, the title and a brief description of the subject

matter which will allow for a determination whether the document is privileged. Finally,

you should state the grounds upon which each document is claimed to be privileged.

       12.     The definitions used in Plaintiff’s Complaint are restated and incorporated

herein by reference.



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                                 INTERROGATORIES

       Plaintiff propounds the following interrogatories upon Twitter to be answered

separately, in writing and under oath:

       1.      Identify the name, address and telephone number of each person likely to

have discoverable information that Twitter may use to support any denial of the factual

allegations and/or any defenses to the claims in Plaintiff’s Complaint, and, for EACH and

EVERY such person, describe in detail ALL information known or believed to be known

by such person.

       THERE WILL BE AN OBJECTION RAISED TO ANY PERSON CALLED

TO TESTIFY OR ANY FACT NOT DISCLOSED IN RESPONSE TO THIS

INTERROGATORY.

       ANSWER:



       2.      In accordance with Rule 4:1(b)(4)(A)(i) of the Rules, identify each person

who Twitter expects to call as an expert witness at trial or at any hearing in this action,

and, for EACH such person, state the subject matter on which the witness is expected to

testify, and state the substance of the facts and opinions to which the expert is expected to

testify, and provide a summary of the grounds for each opinion.

       THERE WILL BE AN OBJECTION RAISED TO ANY PERSON CALLED

TO TESTIFY OR ANY FACT NOT DISCLOSED IN RESPONSE TO THIS

INTERROGATORY.

       ANSWER:




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       3.      Identify all users of Twitter who reside or work in Virginia.

       ANSWER:



       4.      Identify all    persons    (including individuals,     sole   proprietorships,

associations, trusts, partnerships, limited liability companies, and corporations) whose

homes or offices are located in Virginia, and with whom Twitter conducted any business

activity between March 18, 2014 and March 18, 2019.

       ANSWER:



       5.      For each person identified in the preceding interrogatory, describe in detail

the business activity conducted by Twitter with such person between March 18, 2014 and

March 18, 2019, including, without limitation, all revenue and/or income generated or

derived by Twitter from such person(s), and PRODUCE all tax returns, financial

statements, ledgers or other records that evidence such revenue and income.

       ANSWER:



       6.      Identify the number of times Twitter (including, without limitation, its

officers, directors, agents, representatives and/or employees) has been physically present

in Virginia on business between March 18, 2014 and March 18, 2019, and describe in

detail the purpose and nature of such business and the duration of the visit(s).

       ANSWER:




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       7.         Identify all advertising by Twitter that is undertaken with agencies located

in Virginia or that is targeted to persons who live or work in Virginia or that is embedded

in the homepage or timeline of any Twitter user that lives or works in Virginia.

       ANSWER:



       8.         Identify all property located in Virginia, both real and personal (including,

without limitation, (a) deeds, deeds of trust, leases, contracts, agreements, notes,

instruments, security, furniture, fixtures, equipment, inventory, intellectual property,

choses in action, or receivables performed or performable in Virginia, (b) bank or

brokerage accounts located in Virginia, or (c) shares, membership interests, units, or

other legal or beneficial interests in associations, trusts, partnerships, limited liability

companies, and/or corporations formed under Virginia law) in which Twitter had any title

or legal, equitable or beneficial interest between March 14, 2016 and March 18, 2019.

       ANSWER:



       9.         Identify and/or PRODUCE copies of records of all telephone calls made

by any agent or employee of Twitter (from any land line, cell phone, computer, iPad,

Blackberry or other electronic device) to any person known or believed to be located in

Virginia or to area codes 276, 434, 540, 571, 703, 757 and/or 804 between March 18,

2014 and March 18, 2019 relating to any business, either actual (ongoing or completed)

or prospective.

       ANSWER:




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               REQUEST FOR PRODUCTION OF DOCUMENTS

       Plaintiff requests Twitter to produce complete and genuine copies of the

following:

       UNLESS            OTHERWISE                  NOTED,             THE

FOLLOWING REQUEST FOR PRODUCTION

OF DOCUMENTS SEEKS DOCUMENTS AND

ELECTRONICALLY STORED INFORMATION

DATED OR FOR THE TIME PERIOD FROM

MARCH 18, 2014 AND MARCH 18, 2019 (THE

“RELEVANT PERIOD”)

       IF TWITTER HAS NO DOCUMENTS

RESPONSIVE                    TO           THE         FOLLOWING

REQUESTS,                  THE             ANSWER              SHOULD

CLEARLY                STATE               "NONE"           OR         "NO

DOCUMENTS".


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       1.      All documents requested to be produced in and by the above

Interrogatories.

       2.      Financial statements, balance sheets, and income and expense statements

for the years 2014, 2015, 2016, 2017 and 2018 (year-to-date) that evidence or reflect

income received from business transacted in Virginia.

       3.      Federal or State income tax returns for the years 2014, 2015, 2016, 2017

and 2018, including all W2s, 1099s, notes, statements, and accompanying workpapers,

that evidence or reflect income received from business transacted in Virginia.

       4.      Account statements, monthly, quarterly and year-end, for any account in

the name of Twitter, or controlled or beneficially owned by Twitter at any federal lending

institution, bank, credit union, and/or brokerage located in Virginia.

       5.      Contracts or agreements between Twitter and any person or business

(including individuals, sole proprietorships, associations, trusts, partnerships, limited

liability companies, and corporations) performed or performable in Virginia.

       6.      Deeds, deeds of trust, mortgages, leases, licenses, bills of sale, purchase

orders, bills of lading, titles, security agreements, tax bills, certificate of incorporation,

certificate of organization, certificate of partnership, by-laws, operating agreements, trust

agreements, and other documents that constitute, evidence, demonstrate or show any

interest, legal, equitable or beneficial, by Twitter in any real or personal property located

in Virginia.




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       7.      All documents that evidence, demonstrate, show or reflect the conduct or

transaction of any business in Henrico County, Virginia, by Twitter, including, without

limitation, copies of complaints and other papers served on Twitter’s registered agent in

Henrico County.

       8.      All internal email communications and text messages by and between

officers, directors, agents, or employees of Twitter that mention Plaintiff or that are of

and concerning Plaintiff.

       9.      All account creation or account opening documents and information

relating to Twitter account @DevinNunesMom, including, without limitation, username

registrations, phone numbers, associated phone numbers, emails, email verification

requests, email verifications, SMS text messages, text message verifications, transcripts

of voice calls, and/or passwords or login verifications, that were submitted or transmitted

to Twitter by any person and all updates of such information submitted or transmitted to

Twitter after the creation of @DevinNunesMom.

       10.     Copies of all tweets, retweets, replies, likes, postings, messages or written

content of any kind or nature posted by @DevinNunesMom that mention Plaintiff or that

are of and concerning Plaintiff.

       11.     All account creation or account opening documents and information

relating to Twitter account @DevinCow, including, without limitation, username

registrations, phone numbers, associated phone numbers, emails, email verification

requests, email verifications, SMS text messages, text message verifications, transcripts

of voice calls, and/or passwords or login verifications, that were submitted or transmitted




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to Twitter by any person and all updates of such information submitted or transmitted to

Twitter after the creation of @DevinCow.

       12.     Copies of all tweets, retweets, replies, likes, postings, messages or written

content of any kind or nature posted by @DevinCow that mention Plaintiff or that are of

and concerning Plaintiff.

       13.     A copy of any insurance agreement or policy under which an insurance

business may be liable to satisfy all or part of a possible judgment against Twitter in this

action or to indemnify or reimburse for payments made to satisfy the judgment.



       THESE REQUESTS ARE CONTINUING IN NATURE AS PROVIDED

FOR IN THE RULES.

       PLAINTIFF HEREBY REQUESTS THAT TWITTER SUPPLEMENT ITS

DISCOVERY          RESPONSES          IMMEDIATELY            UPON       RECEIPT         OF

ADDITIONAL DOCUMENTS AND INFORMATION.



DATED:         June 24, 2019



                            Signature of Counsel on Next Page




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From:            Friedman, Michael (USADC)
To:              Schottlaender, Hayden (DAL)
Subject:         RE: Subpoena to Twitter
Date:            Wednesday, January 27, 2021 9:44:13 AM


I have consulted with my supervisor here at the US Attorney’s Office, and we will not agree to
provide any further information at this time. Thanks, and feel free to reach out with any further
questions or information. - -Michael


From: Schottlaender, Hayden (Perkins Coie) <HSchottlaender@perkinscoie.com>
Sent: Wednesday, January 27, 2021 10:20 AM
To: Friedman, Michael (USADC) <MFriedman@usa.doj.gov>
Subject: Re: Subpoena to Twitter

Thank you Michael. Would you be able to either share the threatening communications at issue or
tell me if those threats were directed at Devin Nunes?

Hayden

Hayden M. Schottlaender | Perkins Coie LLP
ASSOCIATE
500 N. Akard Street, Suite 3300
Dallas, Texas 75201
D. +1.214.965.7724
F. +1.214.965.7774
E. HSchottlaender@perkinscoie.com



       On Jan 27, 2021, at 8:39 AM, Friedman, Michael (USADC)
       <Michael.Friedman@usdoj.gov> wrote:


       Good morning – Thanks for speaking yesterday. The grand jury subpoena was issued as
       part of a criminal investigation into potential violations of 18 U.S.C. Section 875(c)
       (threatening communications in interstate commerce). Does this information resolve
       any issues, or would you like to speak further? Thanks. – Michael Friedman (202) 252-
       6765


       From: Schottlaender, Hayden (Perkins Coie) <HSchottlaender@perkinscoie.com>
       Sent: Tuesday, January 26, 2021 2:03 PM
       To: Friedman, Michael (USADC) <MFriedman@usa.doj.gov>
       Subject: RE: Subpoena to Twitter

       Docs attached. Just sent a calendar invite for 4:30.

       Thank you,
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Hayden

Hayden Schottlaender | Perkins Coie LLP
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500 N. Akard Street Suite 3300
Dallas, TX 75201
D. +1.214.965.7724
F. +1.214.965.7774
E. HSchottlaender@perkinscoie.com



From: Friedman, Michael (USADC) <Michael.Friedman@usdoj.gov>
Sent: Tuesday, January 26, 2021 12:40 PM
To: Schottlaender, Hayden (DAL) <HSchottlaender@perkinscoie.com>
Subject: Re: Subpoena to Twitter

Thanks, how about 4:30 pm et today? And could you forward the subpoena and NDO
that we will be discussing? — Michael Friedman (202) 252-6765

On Jan 25, 2021, at 7:59 PM, Schottlaender, Hayden (Perkins Coie)
<HSchottlaender@perkinscoie.com> wrote:

        Hi Michael:

        Apologies for intruding tonight, I’m sure you’re quite busy. As I
        mentioned, I represent Twitter. I’m calling in regards to a grand jury
        subpoena you served on them, #GJ2020111968168. I have a few
        questions for you about that subpoena and the accompanying NDO. If you
        could spare me 10 minutes of your time to discuss Twitter’s concerns, I’d
        greatly appreciate it.

        I am largely free this week so just let me know some days and times that
        work best for you.

        Hayden

        Hayden Schottlaender | Perkins Coie LLP
        ASSOCIATE
        500 N. Akard Street Suite 3300
        Dallas, TX 75201
        D. +1.214.965.7724
        F. +1.214.965.7774
        E. HSchottlaender@perkinscoie.com




        NOTICE: This communication may contain privileged or other confidential information. If you have
        received it in error, please advise the sender by reply email and immediately delete the message and
        any attachments without copying or disclosing the contents. Thank you.
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         disclosing the contents. Thank you.




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sender by reply email and immediately delete the message and any attachments without copying or disclosing the contents. Thank you.
